Case 4:23-cv-02991 Document 1 Filed on 08/14/23 in TXSD Page 1 of 19° “

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PRISONER'S CIVIL RIGHTS COMPLAINT (Rev. 04/2021) os Southern
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IN THE UNITED STATES DISTRICT COURT - nen
FOR THE 50 ViVi DISTRICT OF TEXAS AUG 14 2823
Lonnstw DIVISION

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eR INSTRUCTIONS - READ CAREFULLY

NOTICE:
Your complaint is subject to dismissal unless it conforms to these instructions and this form.

Le To start an action you must file an original and one copy of your complaint with the court, “You should keep
a copy of the complaint for your own records. PEN 8 pes

2 Your complaint must be legibly handwritten, in ink, or typewritten. You, the plaintiff, must sign and declare
under penalty of perjury that the facts are correct. If you need additional space, DO NOT USE THE REVERSE
SIDE OR BACK SIDE OF ANY PAGE. ATTACH AN ADDITIONAL BLANK PAGE AND WRITE.ON.IT.
3. You must file a separate complaint for each claim you have unless the various claims are all related to:the same
incident or issue or are all against the same defendant, Rule | 8, Federal Rules of Civil Procedure. Make ashortand._ .
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plain statement of your claim, Rule 8, Federal Rules of Civil Procedure.

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4,” When these forms are completed, mail the original and one copy to the clerk of the United States district court

for the appropriate district of Texas in the division where one or more named defendants are'located, of where the
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ingident giving rise to your claim for relief occurred, If you are confined in the Texas Department of Criminal
Justice, Correctional Institutions Division (TDCJ-CID), the list labeled as “VENUE LIST’ is posted in your unit

law library. It is a list of the Texas prison units indicating the appropriate district court, the division and an address
list of the divisional clerks. vine cP + ewan egies
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“if you do not have the necessary funds to pay the fee in full at this time, you may request, permission to proceed
Jorma: -pauperis, In this event you must complete the application to proceed in forma pauperis, setting forth
ormation to establish your inability to prepay the fees and costs or give security therefor. You must also include ~
a current six-month history of your inmate trust account. If you are an inmate in TDCJ-CID,;you can acquire the
application to proceed in forma pauperis and the certificate of inmate trust account, als known as in info aria
pauperis data sheet, from the law library at your prison unit. . be

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3, The Prison Litigation Reform Act of 1995 (PLRA) provides ‘ ‘if a prisoner brings a civil iction ¢ or Hl a
appeal in forma pauperis, the prisoner shall be required to pay the full amount of a filing. fee ?See 28

€ 1915. Thus, the court is required.to assess and, when funds exist, collect, the entire filing. fee of an inif ial P irtial

fi ling fee and monthly installments until the entire amount of the fi ling fee has been paid bythe prisonét. ‘Tyou
Siibmit the application to proceed in forma pauperis, the court will apply 28 U.S.C. § 191'S-and, if appropriate,

assess and collect the entire filing fée or an initial partial filing fee, then monthly installments from your inmatetrust

ee until the entire $350.00 statutory filing fee has been paid. (The $52.00 administrativ “Apply

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Marked “NOTICE TO THE COURT OF CHANGE OF ADDRESS” and shail not include any motion,
Other relief. Failure to file a NOTICE TO THE COURT OF CHANGE OF ADDRESS may ult in the‘d

f your vompans pursuant to Rule 41(b), Federal Rules of Civil Procedure.

A. Have you filed any other. lawsuit’ in state or federal court relating to your imprisonimen YE

. If your answer to “A” is “yes,” describe each lawsuit in the space below. (If the re is
lawsuit, describe the additional lawsuits on another piece of paper, giving the s same informs on
Approximate date of filing lawsuit:

Parties to previous lawsuit:
Plaintiff(s)
Defendant(s) .
Court: (If. federal, name the district; if state, name the county.)

Cause number:

Name of judge to whom case was assigned:

Disposition: (Was the case dismissed, appealed, still pending?) _

7. Approximate date of disposition:
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‘EXHAUSTION OF GRIEVANCE PROCEDURES: K
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. Attach a copy of your final step of the grievance procedure with the response supplie

S; PARTIES TO THIS SUIT:

i Name and address of plaintiff: Velen Kn Eling het, [ve de as : -

B. Full name of each defendant, his official position, his place of

© Defendant: —,§ GTOYS Nn

 'STATEMENT OF CLAIM:

Have you exhausted all steps of the institutional grievance procedure? VY

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employment, and his full mailing address.

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Defendant #3: Be Ve gonwk tut in SAN
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“", “legal arguments or cite any cases or statutes, If you intend to allege a number of relat
“> set forth each claim in a separate paragraph. Attach extra pages if necessary, but remem
"'. ‘be stated briefly and concisely. IF YOU VIOLATE J IS RULE, THE COURT
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l.; SANCTIONS:
~~ A, Have you been sanctioned by any court as a result of any lawsuit you have filed?

. B.. If your answer is “yes,” give the following information for every lawsuit i in Which"sanctio:

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imposed. (If more than one, use another piece of paper and answer the same questions, )

1. Court that imposed sanctions (if federal, give the district and division):
2, Case number:

Approximate date sanctions were imposed:_

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Have the sanctions been lifted or otherwise satisfied?

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vi C. Has any court ever warned or notified you that sanctions could be imposed?

De If your answer is “yes,” give the following information for every lawsuit in which’ watning was‘issued.
(If more than one, use another piece of paper and answer the same questions.) :

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Court that issued warning (if federal, give the district and division):

: _ 2. Case number:

3. Approximate date warning was issued:

Exevuted on 3 7D - b70- 20° Jaleng

DATE

PLAINTIFF’S DECLARATIONS
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correct.
“2. Tunderstand, if I am released or transferred, it is my responsibility to keep the court i ori ofm
mailing address and failure to do so may result in the dismissal of this lawsuit.
ce oe 3. [understand I must exhaust all available administrative remedies prior to filing th wvauit. oe
~*~ 4, Tunderstand | am prohibited from bringing an in forma pauperis lawsuit if I have brought threé:a te
coe civil actions or appeals (from a judgment ina civil action) in a court of the United States while incarcerated.
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'@;, OF failed to state a claim upon which relief may be granted, unless [ am under immin d;
physical injury. :
. lunderstand even if 1 am allowed to proceed without prepayment of costs, I am responsi
filing fee and costs assessed by the court, which shall be deducted in accordance. with’
inmate trust account by my custodian until the filing fee is paid.

Signed this Q C A day of ty 5 US ,» 20 05

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(Signature of "cag iT)

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WARNING: Plaintiff is advised any false or deliberately misleading information provid Lin’
above questions may result in the imposition of sanctions. The sanctions the court may im 0Se i
aot limited to, monetary sanctions and the dismissal.of this action with prejudice. ;

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